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               EXHIBIT A
12/8/23, 10:57 PM         3:22-cv-03071-CRL-KLM # 38-1            Filed:Lozenges
                                                                  Menthol 12/09/23    Page 2 of 4




    Menthol Lozenges
    DEFINITION

    Menthol Lozenges contain NLT 90.0% and NMT 125.0% of the labeled amount of menthol
    (C10H20O), in a suitable molded base.

    USP REFERENCE STANDARDS FOR PURCHASE

    USP Menthol RS




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    United States Pharmacopeia (2023). USP Monographs, Menthol Lozenges. USP-NF. Rockville, MD: United States
    Pharmacopeia.

    DOI: https://doi.org/10.31003/USPNF_M48535_01_01
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USP Monographs: Menthol Lozenges
  pharmacopeia.cn/v29240/usp29nf24s0_m48535.html


Menthol Lozenges

» Menthol Lozenges contain not less than 90.0 percent and not more than 125.0 percent of
the labeled amount of C10H20O, in a suitable molded base.

Packaging and storage— Preserve in well-closed containers.

USP Reference standards       11 — USP Menthol RS.
Identification— The retention time of the menthol peak in the chromatogram of the Assay
preparation corresponds to that in the chromatogram of the Standard preparation, obtained
as directed in the Assay.
Residual solvents     467 : meets the requirements.
(Official January 1, 2007)

Assay—
Sodium chloride solution— Dissolve 250 g of sodium chloride in water to make 1000 mL.

Internal standard solution— Dissolve suitable quantities of anethole in hexanes to obtain a
solution having a concentration of about 2 mg per mL.

Standard preparation— Dissolve an accurately weighed quantity of USP Menthol RS in
Internal standard solution to obtain a solution having a known concentration of about 0.20L
mg per mL, L being the labeled quantity, in mg, of menthol in each Lozenge.
Assay preparation— Transfer 20 Lozenges to a 1-liter screw-capped conical flask. [NOTE—
Use caps with inert white rubber liners.] Add 200 mL of water, 260 mL of Sodium chloride
solution, and 100.0 mL of Internal standard solution, and shake by mechanical means for 30
minutes. Allow the phases to separate, and transfer a portion of the hexanes phase to a
suitable container.

Chromatographic system (see Chromatography             621 )—The gas chromatograph is
equipped with a flame-ionization detector, a split injection system with a split ratio of about
10:1, and a 0.53-mm × 30-m fused silica column coated with a 1-µm layer of Gl6 stationary
phase. The column is maintained isothermally at about 125 , and the injection port and the
detector block are maintained at about 250 . The carrier gas is helium at a flow rate of
about 10 mL per minute. Chromatograph the Standard preparation, and record the peak
responses as directed for Procedure: the relative retention times are about 0.5 for menthol
and 1.0 for anethole, the resolution, R, between the menthol and the anethole peaks is not
less than 15, the tailing factor for the menthol and anethole peaks is not more than 2.0, and
the relative standard deviation for replicate injections is not more than 2.0%.


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Procedure— Separately inject equal volumes (about 1 µL) of the Standard preparation and
the Assay preparation into the gas chromatograph, and measure the responses for the
menthol and anethole peaks. Calculate the quantity, in mg, of C10H20O in each Lozenge
taken by the formula:
5C(RU / RS),

in which C is the concentration, in mg per mL, of USP Menthol RS in the Standard
preparation, and RU and RS are the ratios of the menthol peak to the anethole peak
obtained from the Assay preparation and the Standard preparation, respectively.
Auxiliary Information— Staff Liaison : Maged H. Sharaf, Ph.D., Senior Scientist
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